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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION


 BEAR CREEK BIBLE CHURCH et al.,

        Plaintiffs,

 v.
                                                           Civil Action No. 4:18-CV-824-O
 EQUAL EMPLOYMENT OPPORTUNITY
 COMMISSION et al.,

        Defendants.


DEFENDANTS’ BRIEF IN SUPPORT OF THEIR MOTION FOR RECONSIDERATION

       Defendants respectfully request that the Court reconsider its October 31, 2021,

Memorandum Opinion and Order, ECF No. 118. The Court denied Defendants’ Motion for

Summary Judgment in part because, it held, the United States waived sovereign immunity. In

support, the Court relied on what it believed to be a concession that certain EEOC actions adversely

affected or aggrieved Plaintiffs. However, that supposed concession was based on an error in the

transcript that has since been corrected. And in any event, Defendants have consistently argued in

their briefing and at the motions hearing that Plaintiffs have not been aggrieved. A false concession

to the contrary should not be the basis for the Court’s sovereign immunity holding, so it should be

reconsidered.

       “Interlocutory orders . . . are left within the plenary power of the court that rendered them

to afford such relief from them as justice requires.” McKay v. Novartis Pharm. Corp., 751 F.3d

694, 701 (5th Cir. 2014) (quoting Zimzores v. VA, 778 F.2d 264, 266 (5th Cir. 1985)). Such orders

“may be revised at any time before the entry of a judgment adjudicating all the claims and all the

parties’ rights and liabilities,” Fed. R. Civ. P. 54(b), and “for any reason [the trial court] deems
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sufficient, even in the absence of new evidence or an intervening change in or clarification of the

substantive law,” Austin v. Kroger Texas, L.P., 864 F.3d 326, 336 (5th Cir. 2017) (quoting

Lavespere v. Niagara Mach. & Tool Works, Inc., 910 F.2d 167, 185 (5th Cir. 1990)).

       In its October 31, 2021, Memorandum Opinion and Order, the Court held that Defendants

waived sovereign immunity because certain EEOC actions imposed a “legal wrong” against

Plaintiffs or otherwise adversely affected or aggrieved Plaintiffs. See Mem. Op. & Order 25. The

Court stated, “There is no dispute that Plaintiffs’ non-RFRA claims satisfy these two requirements,

and the parties agree that Plaintiffs have been aggrieved by that action.” Id. In support, the Court

cited page 62 of the transcript. On the previous page of the transcript, the Court had asked, “And

so your argument is not that there’s not final agency action; your argument is that they have not

shown that they have been aggrieved in a particular way?” Tr. 61, ECF No. 109. Government

counsel responded “Yeah. And—well, both.” Tr. 62. The original transcript then recorded counsel

as saying, “They have been aggrieved, but not quite final agency action. But they haven’t pointed

to—they haven’t challenged any agency action.” Id.

       This line was incorrectly recorded and has now been corrected. As reflected in the corrected

transcript, government counsel actually said, “They haven’t been aggrieved.” Corrected Tr. 62.

Accordingly, the basis for the Court’s holding that “the parties agree that Plaintiffs have been

aggrieved by that action,” Mem. Op. & Order 25, is an incorrect statement and, thus, the holding

itself should be reconsidered.

       At any rate, in the context of numerous occasions in the briefing and at the motions hearing,

it is clear that Defendants have consistently maintained that Plaintiffs were not aggrieved by any

EEOC action. In the sentence before the mistakenly recorded concession, counsel stated that

Plaintiffs “both” have not identified an agency action affecting them in a specific way and were




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not aggrieved by any such action. Id. And in the same colloquy, counsel repeatedly argued that

Plaintiffs were not aggrieved by an agency action. See Tr. 61 (stating that Plaintiffs “haven’t

pointed to any legal wrong that they’ve suffered”); id. (stating that Plaintiffs “point to the guidance

documents, but they don’t show how it’s affected them in any specific way” (emphasis added)); see

also id. (stating that the guidance documents “explicitly don’t have any legal effect” and that

“[t]hey cannot have any legal effect because the EEOC can’t do that sort of regulation”). Further

underscoring Defendants’ actual position, counsel began the hearing by arguing that Plaintiffs

were not aggrieved: “these guidance documents, even if the Court were to construe them as being

challenged in this case, have no legal effect. So plaintiffs can’t point in any way to how they’ve

suffered a legal wrong because of the challenged agency action. It cannot be that they simply

disagree. They have to actually point to a legal consequence of that agency action.” Tr. 26.

       It is also apparent from the summary judgment briefing that Defendants have made no

concession that Plaintiffs were aggrieved by the guidance documents. On the contrary,

Defendants’ central argument was that Plaintiffs were not aggrieved by any EEOC action. See Br.

1 (“At the summary judgment phase, Plaintiffs have a burden to set forth evidence that there is an

actual case or controversy. Plaintiffs have fallen far short, as they have not shown that they suffered

any injury, let alone one caused by the EEOC.”). And on the second sovereign immunity prong in

particular, Defendants argued that Plaintiffs “have not pointed to any legal wrong that such agency

action caused or to any adverse effect within the meaning of a relevant statute.” Defs.’ Br. 14, ECF

No. 96; see also Defs.’ Reply 11, ECF No. 104 (arguing that Plaintiffs have not “suffered legal

wrong” because of the Harris Funeral Home litigation).

       In sum, the basis for the Court’s sovereign immunity holding was an error in the transcript

and an incorrect characterization of Defendants’ argument. The Court should accordingly




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reconsider that holding.

Dated: November 10, 2021                            Respectfully submitted,

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                                                    Attorneys for Defendants

                                CERTIFICATE OF SERVICE

       On November 10, 2021, I electronically submitted the foregoing document with the clerk

of court for the U.S. District Court, Northern District of Texas, using the electronic case filing

system of the court. I hereby certify that I have served all parties electronically or by another

manner authorized by Federal Rule of Civil Procedure 5(b)(2) or the local rules.


                                                    BENJAMIN T. TAKEMOTO




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